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MANUELA REYES, §
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Plaintiff, §
§
VS. §
KROGER TEXAS, LP, §
§

Defendant. §  }60th.upiciaL DISTRICT

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW MANUELA REYES (hereinafter “Plaintiff’), complaining of
KROGER TEXAS, LP (hereafter Defendant “Kroger Texas”), and for causes of action
would show the Court as follows:

I. DISCOVERY CONTROL PLAN

Plaintiff requests that discovery be conducted pursuant to Rule 190.3, Discovery

Control Plan Level 2 of the Texas Rules of Civil Procedure.

Il. PARTIES

 

Plaintiff is an individual residing in Dallas County, Texas.

Defendant, KROGER TEXAS, LP, is a company duly licensed to do business in _
the State of Texas, which has in the past done and/or is currently doing business,
engaging in business, and/or transacting business in the State of Texas generally and
through its retail “Kroger” business location at 313 West Pioneer Parkway, Grand Praire,
Texas. Said Defendant may be served with process herein by and through its registered

agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service

PLAINTIFF'S ORIGINAL PETITION - Page I of 5

 
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Company, 701 Brazos Street, Suite 1050, Austin, Texas 78701. Upon information and
belief, Defendant KROGER TEXAS, LP operates the retail “Kroger” business location
at 313 West Pioneer Parkway, Grand Praire,.
Il. JURISDICTION AND VENUE

This Court has jurisdiction over the subject matter of this case because: (1) The
amount in controversy exceeds the minimum jurisdictional limits of this Court; (2)
Plaintiff is a citizen of the State of Texas and Dallas County; (3) Defendant committed a
tort in the State of Texas, and Dallas County, as alleged herein, Tex. Civ. Prac. & Rem.
Code § 17.042(2); (4) The actions and omissions of Defendant which caused harm to
Plaintiff related to real property under the control of Defendant situated at 313 West
Pioneer Parkway, Grand Praire,; (5) Defendant at all relevant times purposefully availed
itself of the privilege of conducting business activities within the State of Texas, thus
invoking the benefits and protections of its laws, by operating a retail store location at
13201 N. RR 620, Austin, Texas 78759, visited by Plaintiff invitee. Int’! Shoe Co. v.
Washington, 326 U.S. 310, 319 (1945).

Venue is proper in Dallas County, Texas, because all or a substantial part of the
acts or omissions to act giving rise to the claims herein asserted occurred in said county. .

TV. FACTS

The incident made the basis of this lawsuit occurred on or about July 10, 2008 at
the Kroger grocery store located at 313 West Pioneer Parkway, Grand Praire, in Dallas
County, Texas. As the Plaintiff entered the store, suddenly and without warning she slid
in a puddle of dirty liquid, which she believed to be water. As a result of her fall,

Plaintiff sustained serious personal injuries.

PLAINTIFF’S ORIGINAL PETITION - Page 2 of 5
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VY. CAUSES OF ACTION AGAINST DEFENDANT

 

Plaintiff was an invitee of Defendant and therefore said Defendant owed a duty to
use ordinary care and have its premises inspected and maintained in a reasonably safe
condition for use by business patrons and invitees.

Plaintiff would show that at the time and on the occasion complained of,
Defendant was negligent, which negligence proximately caused her damages and injuries
in the following particulars:

a) In failing to maintain the premises in reasonably safe condition;

b) In failing to warn Plaintiff of the dangerous condition of the premises;

c) In failing to inspect the premises in order to discover the dangerous

condition of the premises; and

d) In failing to use ordinary care to reduce or eliminate an unreasonable risk

of harm created by a premises condition which Defendant knew about, or
in the exercise of ordinary care, should have known about.

Each of these acts and omissions, singularly or in combination with others,
constituted negligence which proximately caused the occurrences made the basis of
Plaintiffs action and Plaintiff's injuries and damages.

VI, DAMAGES

As a direct and proximate result of the incident, Plaintiff suffered severe and
permanent bodily injury. Plaintiff would further show that as a proximate cause of the
negligence of Defendant, she has incurred past reasonable and necessary medical
expenses and will in reasonable probability continue to incur future medical expenses.

Further, Plaintiff has sustained substantial pain, suffering and mental anguish in the past

PLAINTIFF'S ORIGINAL PETITION - Page 3 of 5

 
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for which she should be. compensated and will in reasonable probability sustain pain,
suffering and mental anguish in the future. Further, Plaintiff has sustained lost wages
and/or a loss of wage earning capacity and will continue to incur similar damages in the
future. As a further result of Plaintiff's serious and permanent injuries, she has sustained
permanent impairment in the past and will sustain permanent impairment in the future.
Finally, Plaintiff has sustained disfigurement in the past and in the future. For these
injuries and damages, Plaintiff should be compensated in a sum far in excess of the
minimum limits of this Court.
Vil. EXEMPLARY DAMAGES

Defendant’s acts or omissions described above, when viewed from the standpoint
of Defendant at the time of the act or omission, involved an extreme degree of risk,
considering the probability and magnitude of the potential harm to Plaintiff and others.
Defendant had actual, subjective awareness of the risk involved in the above described
acts or Omissions, but nevertheless proceeded with conscious indifference to the rights,
safety, or welfare of Plaintiff and others.

Based on the facts stated herein, Plaintiff requests exemplary damages be awarded
to Plaintiff from Defendant.

VII. RULE 194 REQUEST FOR DISCLOSURE

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is
requested to disclose, within fifty (50) days of service of this Petition upon KROGER
TEXAS, L.P., the information or material described in Rule 194.2.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be

cited to appear and answer herein, that after final trial hereon, Plaintiff recover of and

PLAINTIFF’S ORIGINAL PETITION - Page 4 of 5
 

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from Defendant her damages as mentioned above, costs of Court, prejudgment and post
judgment interest, and for such other and further relief, to which she may show herself
justly entitled.

DATED: August 6, 2009 Respectfully submitted,

STOVALL & ASSOCIATES, P.C.

-*

BY:

KIMBERLY A.5 ALL, ESQ.
State Bar No. 4 060
CHRISTOPKEB4. PARIS, ESQ.

State Bar No. 24032930

 

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ATTORNEYS FOR PLAINTIFF

PLAINTIFF’S ORIGINAL PETITION - Page 5 of 5

 
 

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CORPORATION SERVICE COMPANY:

 

 

LDD / ALL
. ® Transmittal Number: 6978914
Notice of Service of Process Date Processed: 09/15/2009
Primary Contact: Ms. Carrie Cortolilio
The Kroger Co.
1014 Vine Street
Cincinnati, OH 45202-1100
Entity: Kroger Texas L.P.
Entity ID Number 2172000
Entity Served: Kroger Texas LP
Title of Action: Manuela Reyes vs. Kroger Texas, LP
Document(s) Type: Citation/Petition
Nature of Action: Personal Injury
Court: Dallas County District Court, Texas
Case Number: 09-9989
Jurisdiction Served: Texas
Date Served on CSC: 09/14/2009
Answer or Appearance Due: by 10 a.m. of the Monday next following the expiration of twenty days after you
were served
Originally Served On: csc
How Served: Certified Mail
Plaintiff's Attorney: Kimberly A. Stovall

972-774-1276

 

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